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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         § CRIMINAL ACTION NO. C-08-318-1
                                            §
ISRAEL SANCHEZ                              §

      MEMORANDUM OPINION AND ORDER OF DETENTION PENDING
                           TRIAL

          A detention hearing has been held in accordance with the Bail Reform Act,

  18 U.S.C. § 3142(f). The following requires detention of the defendant pending

  trial in this case:

          (1)     There is probable cause to believe the defendant committed an

  offense for which a maximum term of imprisonment of ten years or more is

  prescribed in 21 U.S.C. § 841(b)(1)(A); and

          (2)     The defendant has not rebutted the presumption that no condition or

  combination of conditions will reasonably assure the appearance of the defendant

  as required and the safety of the community.

          The evidence against the defendant meets the probable cause standard. The

  findings and conclusions contained in the Pretrial Services Report are adopted.

  The defendant has substantial contacts with Mexico and substantial resources in

  Mexico. If convicted, he faces deportation to Mexico. He is a poor bond risk.

          The defendant is committed to the custody of the Attorney General or his

  designated representative for confinement in a corrections facility separate, to the



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extent practicable, from persons awaiting or serving sentences or being held in

custody pending appeal. The defendant shall be afforded a reasonable opportunity

for private consultation with defense counsel. On order of a court of the United

States or on request of an attorney for the Government, the person in charge of the

corrections facility shall deliver the defendant to the United States marshal for the

purpose of an appearance in connection with a court proceeding.

       ORDERED this 14th day of July, 2008.


                                         ___________________________________
                                         B. JANICE ELLINGTON
                                         UNITED STATES MAGISTRATE JUDGE




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